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                                                                                            19-cr-40091-DDC-01


Judy Keith

April 7, 2020

Regarding Jarrett William Smith

To The Honorable Judge Daniel Crabtree
District Court Judge
District of Kansas


Your Honor,

I am writing on behalf of Jarrett Smith.

I have known Jarrett his entire life. His mother, Becca Bongiorno, has been my best friend for
more than 30 yrs.

As a child, he had such an infectious love of life. He loved to snuggle. I remember he loved the
show, “ Blues Clues”, as a toddler. Back then, he wanted to be a cowboy; I think that is where
his love of the movie, “Toy Story” was born. When he was 8 or 9 yrs old, we shared a love for
Nascar together. He liked Jeff Gordon, and my favorite driver was Mark Martin. Jarrett and I
enjoyed the chance to tease each other about whose driver placed higher in the races.

When his mother, Becca, was diagnosed with cancer in 2006, Jarrett was so worried he would
lose his mother. He loved her deeply. Her recovery was a huge burden lifted from him.

When Jarrett served as a Cadet for the Civil Air Patrol, I realized he was starting to grow into a
very responsible young man. He was so proud of his accomplishment in winning ‘Best Flight’.
An injury he incurred while serving that was uncalled for and should have been medically treated
immediately, by the leaders of CAP, who were responsible for the young teen boys while they
were on a weeklong encampment away from home. His dreams were crushed after this incident.

When Jarrett was a young man, he was targeted by a gunman in a high school shooting. He had
always been bullied and teased while growing up but this was the worst thing any of us could
imagine. His parents transferred him to another school and Jarrett started using his middle name
in case anyone would recognize his name. This event troubled Jarrett tremendously but he still
had a loving and caring heart.

Jarrett and I shared many family outings together. One sticks out in my mind very vividly, when
Jarrett, his sister, his mother and I all shared a picnic lunch on the beach. The chicken got a little
sandy from the wind blowing but we laughed about it and had such a wonderful time. We played
games and took a beautiful walk on the beach. He had such a loving soul.
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When Jarrett joined the Army he was both scared and full of hope. He struggled during basic
training but kept pushing himself to do better, earning several merits, medals and
accomplishments during his service time. He talked of maybe making the Army a career.
Unfortunately he found himself in a bad place with untreated depression and an innate feeling of
wanting to belong. He had no friends at Fort Riley and that left him vulnerable. Unfortunately,
he trusted someone he should not have, all because he just wanted to feel special and accepted.

Jarrett has a huge support system where he was raised in SC. I feel he will succeed in life if
given another chance. He realizes his mistakes and realizes his trust was misplaced. He has come
back to his love for Christ and plans on living a Godly life surrounded by a loving and supportive
family and church family.

Jarrett is a good man with a good heart. I ask you to please give him another chance at life.

Thank you for your time and consideration.



Respectfully,




Judy Keith
